  Case 3:18-cv-00181-G Document 40 Filed 09/30/19       Page 1 of 55 PageID 311


                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION




HIGHLAND CAPITAL                          )
MANAGEMENT, LP,                           )
                                          )
            Plaintiff,                    )            CIVIL ACTION NO.
                                          )
VS.                                       )            3:18-CV-0181-G
                                          )
INTERNAL REVENUE SERVICE,                 )
                                          )
            Defendant.                    )




                   MEMORANDUM OPINION AND ORDER

      Before the court is the defendant Internal Revenue Service (“IRS”)’s motion

for summary judgment (docket entry 21). For the reasons stated below, the IRS’s

motion for summary judgment is granted in part and denied in part.

                                I. BACKGROUND

      This case arises from a Freedom of Information Act (“FOIA”) request made by

the plaintiff Highland Capital Management, LP (“Highland”) to the IRS. Highland

is a Delaware limited partnership whose headquarters is in Dallas, Texas. Complaint

(docket entry 2) ¶ 1. The IRS is a government agency of the United States within

the meaning of FOIA, 5 U.S.C. § 552. Complaint ¶ 2; Answer (docket entry 14) ¶ 2.
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 2 of 55 PageID 312


                                  A. FOIA Request

      On October 19, 2016, Highland filed a FOIA request with the IRS seeking

             [d]ocuments and emails sent to the Brattle Group by the
             IRS in connection with the IRS’s audit of the 2008 tax
             year of Highland Capital Management, LP, and documents
             and emails sent by the Brattle Group to the IRS, including
             documents relating to the IRS’s hiring of the Brattle
             Group, the Brattle Group’s Reports dated October 23,
             2015 and February 2, 2016, and its “Phase I Report,” in
             connection with the IRS’s audit of the 2008 tax year of
             Highland Capital Management, LP.

Appendix to Memorandum in Support for the Internal Revenue Service’s Motion for

Summary Judgment (“Appendix in Support”), Exhibit A (docket entry 23); see also

Complaint ¶ 12; Answer ¶ 12. The IRS hired The Brattle Group to provide expert

advice related to the examination of Highland’s tax returns for the taxable years 2008

and 2009. Appendix in Support, Exhibit 2 ¶ 6.

                       B. First Search Conducted by the IRS

      To respond to Highland’s FOIA request, on November 1, 2016, the IRS

assigned IRS Disclosure Office caseworker Patricia Williams (“Williams”) to begin

searching for responsive documents. Appendix in Support, Exhibit 1 ¶ 8. Williams

located Highland’s examination case file using the IRS’s Integrated Data Retrieval

System (“IDRS”), a system consisting of computer databases and programs that

support IRS employees working active tax cases. Id. ¶ 11. The IDRS manages data

that has been retrieved from the Master File System, the IRS’s nation-wide



                                         -2-
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 3 of 55 PageID 313


information system containing most taxpayer account information. Id. Using the

IDRS allows employees to take specific actions on taxpayer accounts, track status,

and post transaction updates to the Master File. Id. Williams used a series of

command codes to retrieve summaries of information for the years requested by

Highland, as well as detailed information about Highland’s 2008 tax year, and the

examination case ongoing for tax year 2008. Id. ¶ 14.

      As a result of her initial search, Williams spoke with an agent to obtain more

information about Highland’s request; this agent informed Williams that Revenue

Agent Marcia Vanterpool (“Vanterpool”) could provide her with additional

information about the examination records. Appendix in Support, Exhibit 1 ¶ 14.

Then, on November 8, 2016, Williams contacted Vanterpool, who informed

Williams that she would be able to locate the documents requested by Highland in

the examination case file, but that the team conducting Highland’s civil examination

would require additional time to review the responsive records for confidential

information. Id. ¶ 15. Accordingly, Williams mailed an extension letter to Highland

on November 14, 2016, extending the response date of the FOIA request to January

13, 2017. Id. ¶ 16.

      After her conversation with Williams, Vanterpool brought the FOIA request to

the attention of the examination team. Appendix in Support, Exhibit 1 ¶ 17. Chief

Counsel Attorney Veronica Richards (“Richards”), who the IRS assigned to provide



                                         -3-
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 4 of 55 PageID 314


legal counsel to the agents conducting Highland’s examination, held a meeting with

several IRS employees who were conducting Highland’s examination to discuss

Highland’s FOIA request. Appendix in Support, Exhibit 2 ¶ 10. The employees at

the meeting were Revenue Agents Betty Wang (“Wang”), Vanterpool, Edward

“Buck” Townsend (“Townsend”), and Ronald “Mark” Degan (“Degan”). Appendix

to Reply in Support of the Internal Revenue Service’s Motion for Summary Judgment

(“Appendix to Reply”) (docket entry 38), Exhibit 1 ¶ 6. That same day, Townsend

emailed Financial Products Senior Advisor Mark Perwien (“Perwien”) and IRS

contract representative Nick Wynen (“Wynen”) to inform them that they would

need to search their records for responsive documents. Id. After the meeting,

Richards asked all employees who were working on Highland’s examination to

provide any responsive records they possessed. Appendix in Support, Exhibit 2 ¶ 10.

Richards and Wang determined that any copies of records involving The Brattle

Group would be maintained by Richards, Wang, or Wynen. Id. ¶¶ 10,11. For the

search for responsive records, Wang and Wynen would serve as the two main points

of contact with The Brattle Group, while Richards would serve as the examination

team’s primary point of contact with the Disclosure Office. Id. ¶¶ 10, 11.

      Vanterpool, Townsend, Perwien, and Degan searched for records responsive to

Highland’s FOIA request in November 2016. Appendix to Reply, Exhibit 1 ¶ 7. The

records located during their searches were given to the IRS Disclosure Office and



                                         -4-
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 5 of 55 PageID 315


were included in the original release to Highland. Id. These four custodians,

however, were not able to provide facts describing their respective searches in the

November 2016 search. Id.

      At the same time, Richards, Wang, and Wynen conducted separate searches

for responsive documents. As the primary point of contact with the disclosure office,

Richards reviewed the examination case file provided by Vanterpool. Appendix in

Support, Exhibit 1 ¶ 17. Additionally, Richards conducted a search of her emails and

paper files for any communications between herself and The Brattle Group which

related to Highland. Appendix in Support, Exhibit 2 ¶ 12.

      As a main point of contact with The Brattle Group, Wang searched IRS

documents for records relating to The Brattle Group responsive to Highland’s

request. Wang kept a log of all electronic and paper documents received from, or

sent to, The Brattle Group. Id. ¶ 13. Wang used the log to determine where relevant

records responsive to Highland’s request were located in the examination case file,

and found the electronically stored files related to The Brattle Group. Id. In

addition, Wang conducted a search of her emails, using keyword searches of Brattle

Group employees who had worked with Wang. Id.

      Wynen served as the contract representative of The Brattle Group and

searched his records from his work and relationship with The Brattle Group for

records responsive to Highland’s request. Wynen maintained a file on his IRS



                                         -5-
      Case 3:18-cv-00181-G Document 40 Filed 09/30/19       Page 6 of 55 PageID 316


computer where he stored all emails and documents related to his work as the IRS

contract representative for The Brattle Group. Id. ¶ 14. To identify responsive

records, Wynen conducted a manual search of his file. Id.

         All responsive records found by Wang, Vanterpool, Townsend, Degan,

Perwien, and Wynen were given to Richards for review. Richards reviewed all records

discovered in this search process and produced them to Williams for her own review.

Id.

         This search process took several months to complete. Richards completed her

initial review of the responsive records on December 13, 2016. Id. Due to technical

issues in the electronic storing process of the files prepared and reviewed by Richards,

Williams was unable to begin her subsequent review of the responsive records

produced by Richards until March 3, 2017. Id. ¶ 18. Williams completed her

subsequent review of the records on May 30, 2017 and sent the records back to

Richards for additional review on June 7, 2017. Id. ¶ 19. On July 18, 2017,

Williams received notification that Richards had completed her additional review. Id.

During this review process, extension letters were mailed to Highland on January 12,

2017; February 8, 2017; March 29, 2017; April 26, 2017; and June 30, 2017. Id.

¶ 20.

         On July 23, 2017, the Disclosure Office shipped all the responsive records

found in the search process and determined non-exempt by Richards and Williams to



                                           -6-
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 7 of 55 PageID 317


Highland along with the IRS’s determination letter. Appendix in Support, Exhibit 1

¶ 20. The determination letter reported that 13,409 pages of responsive records were

located in response to Highland’s request, with 132 pages withheld in part and 1,632

pages withheld in full. Appendix in Support, Exhibit B. Highland then submitted an

administrative appeal of the IRS’s determination on October 12, 2017. Appendix in

Support, Exhibit 1 ¶ 21. The IRS’s Appeals Office reviewed the July 23, 2017

response letter as well as the material and documents withheld, and on December 1,

2017 sustained the IRS’s determination, including its decision to withhold 132 pages

in part and 1,632 pages in full. Id. ¶¶ 22-23; Appendix in Support, Exhibit C.

                          C. Complaint Filed and Second Search

      Shortly after unsuccessfully appealing the IRS determination, Highland filed

its complaint on January 24, 2018. See Complaint. After the complaint was filed,

IRS Office of Chief Counsel attorney Christopher Valvardi (“Valvardi”) was assigned

to assist the Department of Justice in the litigation. Appendix in Support, Exhibit 2

¶ 3. The IRS filed its answer on March 28, 2018. See Answer. Williams left the IRS

in January of 2018, leaving Valvardi unable to procure detailed explanations of the

bases for withholding the records that were not produced with the non-exempt

responsive records released to Highland on July 23, 2017. Appendix in Support,

Exhibit 2 ¶ 19. Accordingly, Valvardi conducted his own independent review of all

responsive records. Id.



                                          -7-
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 8 of 55 PageID 318


      First, Valvardi processed the documents provided to Highland by the

Disclosure Office to apply and index the redaction markings for the exempt portions

of the records. Appendix in Support, Exhibit 2 ¶ 20. During his review, Valvardi

compared the processed copies of the documents with the records originally sent to

the Disclosure Office by the examination team and observed that some pages

originally provided by the examination team were missing from the copies provided

to Highland. Id. Ultimately, the reason for the missing pages is unclear, but appears

to have been a result of difficulties encountered by the IRS’s computer systems in

processing the documents for production to Highland. Id. In August of 2018, the

IRS included the previously missing pages in the released records, increasing the total

number of pages determined to be responsive from 13,409 to 15,349. Id.; Highland

Capital Management, L.P.’s Response to Internal Revenue Service’s Motion for

Summary Judgment (“Response”) (docket entry 26) at 3. From this amount,

Valvardi reviewed and determined that 14,937 pages could be released in full, 52

pages should be withheld in part, and 360 pages should be withheld in full.

Appendix in Support, Exhibit 2 ¶ 21.

             D. Motion for Summary Judgment Filed and Third Search

      On August 10, 2018, the IRS filed the instant motion for summary judgment,

as well as an accompanying memorandum in support. See Motion for Summary

Judgment; Memorandum in Support of the Internal Revenue Service’s Motion for



                                         -8-
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 9 of 55 PageID 319


Summary Judgment (“Memorandum in Support”) (docket entry 22). In its

memorandum in support, the IRS argues that the evidence establishes that the IRS

conducted a reasonable search for records responsive to Highland’s FOIA request and

that the IRS is properly withholding information from Highland because it is exempt

from disclosure. See id. at 18-35. On October 1, 2018, Highland filed its response.

See Response. In its response, Highland argues that there exists a genuine dispute of

fact as to whether the IRS conducted an adequate search as required by FOIA. Id. at

5-7. Highland also argues that portions of both Thompkins’s and Valvardi’s

affidavits should be stricken on grounds of inadmissible hearsay. Id. at 14-15.

      In December 2018, Valvardi and the IRS undertook a new search and review

of records to supplement the Disclosure Office’s July 2017 production to Highland.

Appendix to Reply, Exhibit 1 at 2-7. The new search included the potentially

responsive records held by Vanterpool, Townsend, Perwien, and Degan, none of

whom kept contemporaneous accounts of the steps they took while assisting in the

original November 2016 search. Id. at 2-6. In November 2018, Valvardi provided

Degan with detailed instructions to conduct a new search, including a list of search

terms. Appendix to Reply, Exhibit A. Degan used the provided search terms to

search for responsive documents in his email and on the hard drive of his IRS

computer. Appendix to Reply, Exhibit 1 ¶ 11-12. The search yielded one email,

which The Brattle Group did not send or receive, so the email itself is not responsive



                                         -9-
 Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 10 of 55 PageID 320


to the FOIA request. Id. ¶ 13. The email did, however, include an attachment of 5

pages of potentially responsive material, with one page having already been produced

to Highland in the original July 2017 production. Id. ¶ 14. Valvardi and the IRS

withheld the remaining four pages as exempt. Id.

      Valvardi was unable to follow the same procedure for Vanterpool and

Townsend, as they had both separated from the IRS by the time of the December

2018 search. Appendix to Reply, Exhibit 1 at 4-6. Additionally, neither Vanterpool,

Townsend, nor Perwien created contemporaneous accounts of the steps they took

while assisting with the original 2016 search. Id. Thus, to conduct a more thorough

search of Vanterpool’s, Townsend’s, and Perwien’s records, the IRS’s Information

Technology (“IT”) personnel collected all the electronic records maintained by

Vanterpool and Townsend and provided the records to Valvardi. Id. ¶¶ 22-23. The

IRS IT personnel also provided Valvardi with all the electronic records maintained by

Perwien which had been collected for other cases. Id. Valvardi subsequently used

the keywords he provided to Degan to search Vanterpool’s, Townsend’s, and

Perwien’s records. Id. ¶ 25. The search returned 467 email files, containing 2118

total pages, and 124 non-email files, containing approximately 7120 total pages. Id.

¶ 26. Upon manual review of the electronic files found through the search, Valvardi

determined that only 45 of the email records were communications with The Brattle

Group that were not duplicates of records already produced from other sources, and



                                        - 10 -
 Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 11 of 55 PageID 321


that all the non-email files were duplicates of records already produced from other

sources. Id. ¶ 27. In total, Valvardi’s search of Vanterpool, Townsend, and Perwien’s

electronic files produced 105 pages of responsive records, labeled with Bates page

numbers 15350 through 15455. Id. ¶ 28.

      Additionally, during the new December 2018 search, Valvardi discovered that

some documents that Wang and Richards had provided to the Disclosure Office

during the original FOIA search in 2016 contained embedded electronic attachments

that were not visible when Valvardi first reviewed the original batch of documents.

Id. ¶ 29. Valvardi reviewed the records from the original July 2017 production to

find all hidden attachments and discovered that many were duplicate copies of

records already reviewed and either produced to Highland or withheld as exempt. Id.

¶ 31. An additional 403 pages of attachments, however, were not previously

produced to Highland, and were accordingly produced to Highland under Bates page

numbers 15456 through 15858. Id. ¶ 32. In total, as the result of the new December

2018 search, on February 8, 2019, the IRS produced to Highland 508 additional

documents (403 pages of attachments and 105 pages of electronic files) numbered

15350 through 15858. Id. ¶ 33.

      On March 4, 2019, the IRS filed its reply in support of its motion for

summary judgment. See Internal Revenue Service’s Reply in Support of its Motion

for Summary Judgment (“Reply”) (docket entry 37). In its reply, IRS first details the



                                        - 11 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 12 of 55 PageID 322


new December 2018 search and then argues that both the original 2016 search and

its subsequent reviews and searches led by Valvardi were adequate and reasonable

under FOIA. Id. at 1-6. Moreover, the IRS contends that it exceeded requirements

to demonstrate proper withholding of information under FOIA by providing both

Vaughn declarations as exhibits to the original motion and the reply, and by providing

a Vaughn index as an exhibit to its reply. Id. at 6-9; see Appendix to Reply, Exhibit B;

see generally Appendix in Support; Appendix to Reply.

      Highland filed its surreply on March 18, 2019. See Highland Capital

Management, L.P.’s Surreply to Internal Revenue Service’s Reply in Support of

Motion for Summary Judgment and Request for Hearing (“Surreply”) (docket entry

39). In its surreply, Highland argues that the exemptions claimed by the IRS are a

pretext to prevent Highland from obtaining the “Phase I Report” created by The

Brattle Group regarding the IRS’s ongoing examination into Highland’s tax year

2008. Id. at 2-5. Highland additionally requests a hearing with the court in order to

present its evidence and prove to the court that the IRS is wrongfully withholding

from Highland information that is properly disclosable. Id. The IRS’s motion for

summary judgment is now ripe for decision.

                                    II. ANALYSIS

                                  A. Legal Standard

      In general, summary judgment is proper only if “there is no genuine dispute as



                                         - 12 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 13 of 55 PageID 323


to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a), (c)(1). “In the FOIA context, however, the traditional [summary

judgment] standard is modified because ‘the threshold question in any FOIA suit is

whether the requester can even see the documents the character of which determines

whether they can be released.’” Batton v. Evers, 598 F.3d 169, 175 (5th Cir. 2010)

(quoting Cooper Cameron Corp. v. U.S. Department of Labor, Occupational Safety and

Health Administration, 280 F.3d 539, 543 (5th Cir. 2002)) (emphasis in original).

“The FOIA expressly places the burden on the defending agency to sustain its action

and show that it acted in accordance with the statute.” Driggers v. United States, No.

3:11-CV-0229-N, 2011 WL 5525337, at *3 (N.D. Tex. Oct. 26, 2011) (Ramirez,

M.J.) (citing Batton, 598 F.3d at 175; Cooper Cameron, 280 F.3d at 543); see also 5

U.S.C. § 552(a)(4)(B) (“. . . and the burden is on the agency to sustain its action.”).

To meet its summary judgment burden, the agency must establish that: (1) its search

for the requested material is adequate; and (2) that each responsive document is

either produced, unidentifiable, or exempt from production. Driggers, 2011 WL

5525337, at *3; Cooper Cameron, 280 F.3d at 543.

      In applying this standard, the court is mindful of FOIA’s purpose. The FOIA

“embodies a philosophy of full disclosure by government agencies and requires them

to make their records available to the public.” Driggers, 2011 WL 5525337, at *2

(citing 5 U.S.C. § 552). Moreover, “[t]he FOIA was enacted to ‘pierce the veil of



                                         - 13 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 14 of 55 PageID 324


administrative secrecy and to open agency action to the light of public scrutiny.’”

Batton, 598 F.3d at 175 (quoting Department of the Air Force v. Rose, 425 U.S. 352, 361

(1976)). Accordingly, the exemptions to disclosure an agency may claim “are

explicitly limited by statute and should be construed narrowly.” Id. Furthermore, in

a FOIA case a court should grant an agency’s motion for summary judgment only if

the agency identifies the documents at issue and explains why they fall under the

claimed exemptions. Id.; Cooper Cameron, 280 F.3d at 543. If there is contradictory

evidence or evidence of agency bad faith, a court should not grant summary judgment

for an agency. Gahagan v. United States Citizenship and Immigration Services, 147 F.

Supp. 3d 613, 621 (E.D. La. 2015) (citing Gallant v. National Labor Relations Board,

26 F.3d 168, 171 (D.C. Cir. 1994)).

      An agency generally submits affidavits or declarations to satisfy its burden on a

summary judgment motion under FOIA. Driggers, 2011 WL 5525337, at *3;

Gahagan, 147 F. Supp. 3d at 620. “These affidavits must be clear, specific, and

reasonably detailed while describing the withheld information in a factual and

nonconclusory manner.” Gahagan, 147 F. Supp. 3d at 621. In addition, affidavits

and declarations submitted by an agency are entitled to a “presumption of

legitimacy” unless there is evidence of bad faith in handling the FOIA request.

Batton, 598 F.3d at 176 (citing United States Department of State v. Ray, 502 U.S. 164,

179 (1991)). “The presumption of legitimacy, however, does not relieve the



                                         - 14 -
    Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 15 of 55 PageID 325


withholding agency of its burden of proving that the factual information sought falls

within the statutory exemption asserted.” Id. In fact, even if an agency submits

affidavits, a district court has the discretion to inspect the content of agency

documents in camera to determine whether they fall under any of the FOIA

exemptions. Gahagan, 147 F. Supp. 3d at 621. Importantly, the Fifth Circuit has

cautioned that in instances where it is determined that records do exist, the legislative

intent behind the FOIA requires that a district court do something more than rely

solely upon an affidavit, be it by inspecting the records in camera or by requesting a

Vaughn index.1 See Batton, 598 F.3d at 175-76.

                                     B. Application

                                  1. Adequacy of Search

        As a threshold matter, the court must determine whether the IRS’s search for

responsive documents was adequate. Batton, 598 F.3d at 176 (citing Santos v. Drug

Enforcement Administration, 357 F. Supp. 2d 33, 37 (D.D.C. 2004)). “An agency may

demonstrate that it conducted an adequate search by showing that it used ‘methods

which can be reasonably expected to produce the information requested.’” Id. (citing

1
        “The vaughn index is named after the case of Vaughn v. Rosen, 484 F.2d 820
        (D.C. Cir. 1973), and is “a routine device through which the agency describes
        the document responsive to a FOIA request and indicates the reasons for
        redactions or withholdings in sufficient detail to allow a court to make an
        independent assessment of the claims for exemptions.” Driggers, 2011 WL
        5525337, at *3 n.1 (citing Rugiero v. United States Department of Justice, 257
        F.3d 534, 544 (6th Cir. 2001)).


                                          - 15 -
    Case 3:18-cv-00181-G Document 40 Filed 09/30/19        Page 16 of 55 PageID 326


Oglesby v. United States Department of Army, 920 F.2d 57, 68 (D.C. Cir. 1990)). “The

issue ‘is not whether there might exist any other documents possibly responsive to

the request, but rather whether the search for those documents was adequate.’”

Gahagan, 147 F. Supp. 3d at 622 (quoting Weisberg v. United States Department of

Justice, 745 F.2d 1476, 1485 (D.C. Cir. 1984)) (emphasis in original). As mentioned

previously, to establish the adequacy of its search, an agency may submit affidavits or

declarations, which are afforded a presumption of good faith, and which explain the

scope of method of the search used by the agency. Id.

        Here, the IRS relies on the declarations of Thompkins and Valvardi to explain

the IRS’s search methodology.2 These declarations, taken together, explain that in

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        Highland, in its response, argues that certain portions of Valvardi’s and
Thompkins’s affidavits should be stricken and not considered by this this court.
Response at 7, 14-15. Specifically, Highland asserts that paragraphs 9, 13 through
15, and 17 through 20 of Thompkins’s affidavit, as well as paragraphs 10 through 15
and 28 of Valvardi’s affidavit contain hearsay and are thus inadmissible for the
purpose of deciding the IRS’s summary judgment motion. Id. at 14-15. The court
disagrees with Highland. “Generally, declarations accounting for searches of
documents that contain hearsay are acceptable.” Kay v. Federal Communications
Commission, 976 F. Supp. 23, 34 n.29 (D.D.C. 1997) (citing SafeCard Services, Inc. v.
Securities and Exchange Commission, 926 F.2d 1197, 1201 (D.C. Cir. 1991)), aff’d, 172
F.3d 919 (D.C. Cir. 1998); see also Barnard v. Department of Homeland Security, 531 F.
Supp. 2d 131, 138 (D.D.C. 2008) (“Consistent with these requirements, hearsay in
FOIA declarations is often permissible.”); Brophy v. United States Department of Defense,
No. Civ. A. 05-360 (RMC), 2006 WL 571901, at *4 (D.D.C. Mar. 8, 2006)
(“Declarations that contain hearsay in recounting searches for documents are
generally acceptable.”). Here, Thompkins was the Disclosure Manager for the
Disclosure Office and the direct supervisor of Williams as she conducted the search,
and Valvardi was assigned to assist the Department of Justice in the instant litigation.
Appendix in Support, Exhibit 1 ¶¶ 2,4; Appendix in Support, Exhibit 2 ¶ 3.
                                                                           (continued...)

                                         - 16 -
    Case 3:18-cv-00181-G Document 40 Filed 09/30/19        Page 17 of 55 PageID 327


response to Highland’s original request and to this litigation, the IRS and its agents

conducted three searches for responsive documents. Thompkins’s declaration

establishes that the first search in response to Highland’s request was led by Williams

and Richards. Appendix in Support, Exhibit 1 at 1-5. The IRS Disclosure Office

assigned Williams to the case regarding Highland’s request. Id. ¶ 3. Williams began

the search for responsive documents by accessing the IDRS to locate the examination

case file of Highland’s tax year 2008. Id. ¶ 11. After using a series of command

codes to search the IDRS for the examination case file, Williams learned that

Vanterpool would be able to provide information and documents to the Disclosure

Office to respond to Highland’s request. Id. at 4. Williams contacted Vanterpool to

request the responsive information from the examination case team, but Vanterpool

advised Williams that providing all responsive records would take additional time to

review the records for exempt material. Id. ¶ 15. Accordingly, Williams mailed an

extension letter to Highland extending the response date of the request. Id. ¶ 16.

        After receiving Highland’s request, Richards called a meeting of the

examination case team of Wang, Vanterpool, Townsend, and Degan to inform them

about the request, and asked them to conduct searches of their respective records for

responsive records. Appendix to Reply, Exhibit 1 ¶ 6; Appendix in Support, Exhibit 2

2
 (...continued)
Accordingly, Thompkins and Valvardi were the most appropriate people to provide a
comprehensive affidavit.


                                          - 17 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 18 of 55 PageID 328


¶ 10. Townsend emailed Perwien and Wynen to inform them that they would need

to search their records for responsive documents as well. Appendix to Reply, Exhibit

1 ¶ 6. Richards and Wang determined that the records produced in the search would

be maintained by Richards, Wang, or Wynen. Appendix in Support, Exhibit 2 ¶¶ 10,

11. Vanterpool, Townsend, Perwien, and Degan each searched their emails and

paper files for records responsive to Highland’s request, and their searches produced

records that were given to the Disclosure Office and included in the original release to

Highland. Appendix to Reply, Exhibit 1¶ 7. Vanterpool, Townsend, Perwien, and

Degan, however, all failed to keep contemporaneous accounts describing their search

methods. Id.

      Simultaneously, Richards, Wang, and Wynen searched their emails, paper

files, and other relevant material for records responsive to Highland’s request.

Richards reviewed the examination case file provided by Vanterpool, as well as her

emails and paper files for any material responsive to Highland’s request. Appendix in

Support, Exhibit 1 ¶ 17; Appendix in Support, Exhibit 2 ¶ 12. Wang kept a log of all

electronic and paper documents received from and sent to The Brattle Group, and

used the log to find files related to The Brattle Group responsive to Highland’s

request. Id. ¶ 13. Additionally, Wang searched her personal emails using keywords

of employees of The Brattle Group who had worked with Wang on the examination

of Highland’s tax year 2008. Id. Wynen maintained a file of all emails and



                                         - 18 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 19 of 55 PageID 329


documents related to his work with The Brattle Group and conducted a manual

search of the file for documents responsive to Highland’s request. Id. ¶ 14. Richards

reviewed all records discovered in this search process and produced them to Williams

for review by the Disclosure Office. Appendix in Support, Exhibit 1 ¶ 17. After

additional review by both Richards and Williams, on July 23, 2017, the Disclosure

Office shipped all responsive records found in the search to Highland, which was

comprised of 13,409 total responsive pages, with 132 pages withheld in part and

1,632 pages withheld in full. Appendix in Support, Exhibit B.

      In January of 2018, Williams left the IRS and shortly after her departure

Valvardi was assigned to assist the Department of Justice in the instant litigation.

Appendix in Support, Exhibit 2 ¶¶ 3, 19. Williams’s departure left Valvardi unable

to procure detailed explanations of the bases for withholding the records not

produced with the non-exempt responsive records from the original search. Id. ¶ 19.

Accordingly, Valvardi conducted his own independent review of all responsive records

found in the search. Id. Valvardi compared the copies of the processed records

produced to Highland in July 2017 with the records originally produced to the

Disclosure Office by the examination team and discovered that some pages originally

produced by the examination team were missing from the copies produced to

Highland. Id. ¶ 20. Valvardi then reviewed all responsive records from the search,

including the previously missing pages, and determined that some pages withheld in



                                         - 19 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19        Page 20 of 55 PageID 330


the July 2017 production were non-exempt and could properly be produced to

Highland. Id. The IRS released the new pages to Highland, as well as the pages

newly determined to be non-exempt from the July 2017 production. Id. Ultimately,

Valvardi’s review increased the number of responsive pages from 13,409 to 15,349,

with 14,937 pages released in full, 52 pages withheld in part, and 360 pages withheld

in full. Id. ¶ 21.

       In late 2018, Valvardi directed a new search and review to supplement the

Disclosure Office’s July 2017 production to Highland. Appendix to Reply, Exhibit 1

at 2-7. The new search focused on the records maintained by Vanterpool, Townsend,

Perwien, and Degan, who did not keep contemporaneous accounts of the steps they

took while assisting in the original November 2016 search. Id. at 2-6. In November

of 2018, Valvardi provided Degan with detailed instructions to conduct a new search

of his records, including a list of search terms. Appendix to Reply, Exhibit A. Degan

searched his emails and the hard drive of his computer which yielded one email that

was not responsive to Highland’s request. Appendix to Reply, Exhibit 1 ¶¶ 11-13,

15. The email, however, included an attachment of 5 pages of potentially responsive

material. Id. ¶ 14. One page had already been produced to Highland in the July

2017 production, and the other four were withheld by the IRS as exempt. Id.

Valvardi was unable to follow the same procedure to search the records of Vanterpool

and Townsend, as both had separated from the IRS by the time of the December



                                        - 20 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 21 of 55 PageID 331


2018 search. Appendix to Reply, Exhibit 1 at 4-6. Accordingly, the IRS’s IT

personnel collected all electronic records maintained by Vanterpool and Townsend

and provided the records to Valvardi. Id. ¶¶ 22-23. The IT personnel also provided

Valvardi with the electronic records maintained by Perwien, which had been collected

for other ongoing cases. Id. Valvardi used the procedure he provided to Degan to

search the records of Vanterpool, Townsend, and Perwien, including the use of the

search terms provided to Degan. Id. ¶ 25. The search resulted in the discovery of

467 email files, containing 2118 total pages, and 124 non-email files, containing

approximately 7120 total pages. Id. ¶ 26. Valvardi manually reviewed the records

and determined that only 45 of the email records were not duplicates of records

already produced in the July 2017 production to Highland and that all non-email

files discovered had already been produced. Id. ¶ 27. The new search produced 106

pages of new responsive records. Id. ¶ 28.

      Additionally, during the new search in 2018, Valvardi discovered that

documents produced during the original search in 2016 contained embedded

electronic attachments that were not visible during Valvardi’s first review of the

documents. Appendix to Reply, Exhibit 1 ¶ 29. Valvardi manually reviewed the

records produced in the original July 2017 production and found an additional 403

pages of attachments, and accordingly produced them to Highland. Id. ¶¶ 32-33. In

total, as a result of the 2018 search, on February 8, 2019, Valvardi and the IRS



                                         - 21 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19            Page 22 of 55 PageID 332


produced 508 additional documents to Highland. Id. ¶ 33.

          Based on the multiple searches described in the IRS’s affidavits, the court

concludes that the IRS has satisfied its burden of conducting an adequate search.

The IRS uncovered a total of 15,858 pages of responsive documents by using varying

search methods designed to accurately respond to Highland’s request. Nevertheless,

Highland raises arguments as to why the IRS’s search was inadequate. See Response

at 5-7.

          First, Highland argues that the IRS’s response to its FOIA request was

“obstructionist, time-consuming, and expensive.” Response at 5. In particular,

Highland asserts that because subsequent searches and reviews resulted in the

production of documents originally withheld, and because an error resulted in the

withholding of 2,000 documents in the original July 2017 production, that there

exists a genuine dispute as to the adequacy of the search. Id. Highland alleges that

the subsequent searches and reviews and the production of additional documents

therefrom is evidence that the IRS “did not take Highland’s Request seriously.” Id.

at 6. Highland thus argues that the IRS should not benefit from the presumption of

legitimacy afforded to agency affidavits in FOIA litigation. Id. The court finds these

arguments unpersuasive. The fact that the IRS conducted multiple searches and

reviews indicates that the IRS was complying with FOIA obligations in good faith.

See Corbeil v. United States Department of Justice, No. 04-2265, 2005 WL 3275910, at



                                            - 22 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 23 of 55 PageID 333


*3 (D.D.C. Sept. 26, 2005) (“[A]n agency’s prompt report of the discovery of

additional responsive materials may be viewed as evidence of its good faith efforts to

comply with its obligations under FOIA”); Landmark Legal Foundation v. Environmental

Protection Agency, 272 F. Supp. 2d 59, 63 (D.D.C. 2003) (“[C]ontinuing discovery

and release of documents does not prove that the original search was inadequate, but

rather shows good faith on the part of the agency that it continues to search for

responsive documents.”).

      Second, Highland contends that the original search undertaken by the

examination case team was an effort by the IRS to “cherry-pick custodians.”

Response at 6. Highland argues that the search method detailed in the IRS’s

declaration, specifically the manual searching of email boxes and case folders for

responsive records by the examination team, is inadequate under FOIA. Id. The

court disagrees. Both Thompkins’s and Valvardi’s declarations assert that there

would be no other potential source of records within the IRS that would likely

contain additional records responsive to Highland’s request. Appendix in Support,

Exhibit 1 ¶ 10; Appendix in Support, Exhibit 2 ¶ 18. Additionally, Valvardi, in his

first declaration, asserts that “a proper search for responsive records was conducted”

after reviewing the methods and results of the search. Appendix in Support, Exhibit

2 ¶ 17. Highland offers no theory or supporting evidence that additional sources of

responsive records exist or that the IRS acted in bad faith in conducting its search.



                                         - 23 -
    Case 3:18-cv-00181-G Document 40 Filed 09/30/19        Page 24 of 55 PageID 334


See generally Response. Because “[p]erfection is not the standard by which the

reasonableness of a FOIA search is measured[]”, Judicial Watch, Inc. v. Rossotti, 285 F.

Supp. 2d 17, 26 (D.D.C. 2003), the court cannot conclude that the IRS’s search was

inadequate because of its methods or which employees were a part of the process.3

        Furthermore, Highland argues that the IRS’s production revealed other

employees who could have potentially responsive documents, specifically Townsend

and Perwien, but that the IRS did not conduct a search of their records. Id. at 6-7.

Valvardi’s second declaration, however, directly refutes Highland’s assertions.

Valvardi’s declaration clearly contends that as a part of the original search, both

Townsend and Perwien searched their files for records responsive to Highland’s

request and provided them to the Disclosure Office for production in the original July

2017 production. Appendix to Reply, Exhibit 1 ¶ 7. Furthermore, because Valvardi

was unable to procure detailed explanations of the search procedures used by

Townsend and Perwien, Valvardi conducted a subsequent search of their records and

produced the responsive documents discovered therein to Highland. Id. ¶¶ 25-28.

Ultimately, because the court concludes that the IRS’s declarations show that it used

reasonable search methodology, and because the court is unconvinced by Highland’s


3
      For the same reasons, the court cannot conclude that the IRS’s search was
inadequate because it did not “have a computer or information specialist run a simple
keyword search against all potential custodians who interacted with The Brattle
Group.” Response at 6.


                                         - 24 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19           Page 25 of 55 PageID 335


arguments to the contrary, the court concludes that the IRS has satisfied its burden

of showing it conducted an adequate search.

                         2. Records Withheld Under Exemption 3
                             in Conjunction With § 6103(a)

      The IRS argues that it may partially withhold page 14943 under the third

FOIA exemption in conjunction with I.R.C. § 6103(a) (2018) because the portion of

the record that is withheld contains the taxpayer information of The Brattle Group.

Memorandum in Support at 21-22; Appendix in Support, Exhibit 2 at 8. The court

agrees.

      “FOIA Exemption 3, 5 U.S.C. § 552(b)(3) (2006), states that an agency need

not disclose any documents ‘specifically exempted from disclosure by statute’ if the

statute ‘requires that the matters be withheld from the public in such a manner as to

leave no discretion on the issue’ or ‘establishes particular criteria for withholding or

refers to particular types of matters to be withheld.’” Batton, 598 F.3d at 177

(quoting 5 U.S.C. § 552(b)(3) (2006)). “Section 6103 of the Internal Revenue Code,

in turn, provides that tax returns, as well as return information, are confidential and

shall not be disclosed to anyone other than the taxpayer.” Id. (citing I.R.C. § 6103(a)

(2006)). Accordingly, section 6103 of the Internal Revenue Code is a qualifying

statute under the third FOIA exemption. Id. Section 6103(a) of the Internal

Revenue Code states that no officer or person with access to return information “shall

disclose any return or return information obtained by him in any manner in

                                          - 25 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 26 of 55 PageID 336


connection with his service as such an officer or an employee or otherwise or under

the provisions of this section.” I.R.C. § 6103(a). The definition of return

information protected by section 6103 includes “a taxpayer’s identity.” I.R.C.

§ 6103(b)(2)(A). Taxpayer identity includes the taxpayer’s “identifying number.”

I.R.C. § 6103(b)(6).

      To support its claim that exemption three applies to page 14943, the IRS relies

on Valvardi’s declaration. See Memorandum in Support at 22. In particular,

Valvardi’s first declaration provides that “[p]age 14943 is a tax compliance

questionnaire. It is withheld in part because it contains the Employer Identification

Number (“EIN”) of The Brattle Group. The EIN is the return information of third

party Brattle Group.” Appendix in Support, Exhibit 2 ¶ 26. Valvardi’s first

declaration further provides that the IRS can only disclose return information with

written consent or demonstrated material interest in the information, but that

“[Highland] did not provide with its request either the written consent from The

Brattle Group or information showing it had a material interest in the return

information of The Brattle Group.” Id. Highland does not address this particular

exemption in its response or in its surreply. See generally Response; Surreply. A

taxpayer’s EIN, pursuant to Internal Revenue Code sections 6103(b)(2)(A) and

6103(b)(6), is protected from disclosure absent an explicit exception. I.R.C.

§§ 6103(a), 6103(b)(2)(A), 6103(b)(6). Therefore, the information as described in



                                         - 26 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 27 of 55 PageID 337


Valvardi’s declaration is confidential under the Internal Revenue Code and is exempt

from disclosure by the IRS absent an exception under section 6103.

      Two exceptions to the general bar of non-disclosure are potentially applicable

in this case. The first potential exception to the general rule, I.R.C. § 6103(c),

requires that the taxpayer give consent of disclosure to the third party to the IRS;

Highland offers no evidence that it obtained consent from The Brattle Group for the

disclosure of the information withheld in page 14943. Second, I.R.C. § 6103(e)

allows for the disclosure of confidential information to third parties if they can

demonstrate “material interest” in the information that is not disclosed, but

Highland does not argue material interest in its briefing, nor has Highland presented

evidence in the summary judgment record that it has a material interest in the

information as defined in section 6103(e). Accordingly, Highland has not satisfied

either the exception found in sections 6103(c) or 6103(e), and the IRS cannot

disclose The Brattle Group’s EIN to Highland on grounds of material interest.

      Therefore, because the court concludes that the information withheld in part

by the IRS is exempt from disclosure under I.R.C. § 6103(a), and because the

potentially applicable exceptions to the general rule of nondisclosure found in I.R.C.

§§ 6103(c) and 6103(e) have not been satisfied by Highland, the court concludes

that summary judgment should be granted in favor of the IRS as to page 14943. The

IRS may withhold page 14943 in part.



                                          - 27 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 28 of 55 PageID 338


                 3. Records Withheld Under Exemption 3 in Conjunction
                    with 26 U.S.C. § 6103(e)(7) and Exemption 7(A)

      The IRS also seeks to withhold a number of pages in whole and in part under

FOIA exemption three, 5 U.S.C. § 552(b)(3) in conjunction with 26 U.S.C.

§ 6103(e)(7), as well as FOIA exemption seven, 5 U.S.C. § 552(b)(7)(A).

Memorandum in Support at 11-14. Specifically, the IRS argues that it is withholding

in part pages 4, 407, 413-414, 420, 446, 454-456, 458-459, 470-471, 474-475, 503,

506-507, 532, 535, 538, 545, 547, 550, 567-568, 576, 580-581, 588, 613-614,

14752, and 14841 pursuant to FOIA exemptions 3 and 7(A) because “these pages

contain copies of email or e-fax communications” between IRS employees and Brattle

Group contractors that discuss Highland’s return information. Memorandum in

Support at 13. The IRS contends that if the discussions contained in these pages

were released to Highland, the scope and strategy of the IRS’s investigation into

Highland would be revealed, which would interfere with the IRS’s enforcement

proceedings and impair the IRS’s ability to ensure the collection of proper tax and

penalties from Highland. Id.

      Additionally, the IRS argues that it is withholding in full pages 247-300 and

348 properly under FOIA exemptions 3 and 7(A) because they “contain portions of a

confidential report prepared for the [IRS] by The Brattle Group.” Id. The IRS

alleges that the disclosure of the information contained within the report would

reveal the scope, direction, and strategy of the IRS’s civil examination of Highland,

                                         - 28 -
    Case 3:18-cv-00181-G Document 40 Filed 09/30/19        Page 29 of 55 PageID 339


which would both interfere with the IRS’s enforcement proceedings and seriously

impair the ability of the IRS to ensure the collection of proper tax and penalties from

Highland. Id.

        The IRS also contends that it is properly withholding in part page 369

pursuant to FOIA exemption 3 and 7(A) because it contains an email between Ms.

Wang and Ms. Richards that discusses Highland’s return information. Id. Much like

the other documents withheld under FOIA exemptions 3 and 7(A), the IRS avers that

disclosing page 369 would be expected to interfere with its enforcement proceedings

and would seriously impair the ability of the government to ensure the collection of

the proper tax and penalties from Highland. Id.

        Moreover, the IRS alleges that it is properly withholding pages 15046-15151

and 15160-15349 in full pursuant to exemptions 3 and 7(A) because they contain

The Brattle Group’s “Phase I Report,” which contains Highland’s return

information.4 Id. at 13-14. Highland again avers that if this report were disclosed, it

would reveal the scope, direction, and strategy of its examination, which would

reasonably be expected to interfere with its enforcement proceedings and would

impair its ability to ensure the collection of the proper tax and penalties from

Highland. Id. at 14.


4
       The IRS initially sought to withhold pages 15152-15159; however, the IRS no
longer claims any exemption for these pages. Appendix to Reply, Exhibit B at 25;
Appendix to Reply, Exhibit 2 ¶ 5.

                                         - 29 -
 Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 30 of 55 PageID 340


      Finally, by way of its reply and the declaration of Roy R. Metcalf, the IRS

contends that it is also properly withholding under FOIA exemption 3 and exemption

7(a): (1) pages 15352, 15371, 15373, 15377, 15381, and 15424 in part because

they contain copies of emails between Ms. Wang and contractors for The Brattle

Group that discuss Highland’s return information; (2) pages 15458-15505 and

15507-15560 in full because they consist of faxed messages containing copies of The

Brattle Group’s Phase III Report; (3) pages 15617-15621, 15623-15624, 15626-

15627, 15662-15665, 15667-15669, and 15844-15845 in part because they consist

of “faxed messages containing memoranda from The Brattle Group to the [IRS]

which ask questions, or provide answers to questions, intended to inform the analysis

provided by The Brattle Group in their reports[;]” (4) pages 15629-15660 in full

because they consist of faxed messages containing The Brattle Group’s Phase I

Memorandum; and (5) pages 15671-15680, 15682-15691, 15693-15701, 15703-

15713, 15715-15725, 15727-15737, and 15739-15747 in full because they consist

of faxed messages containing a draft copy of The Brattle Group’s Phase II Report. See

Appendix to Reply at 22-24, 31-34.

      Highland argues in its response, however, that the IRS has not satisfied its

summary judgment burden with respect to the documents withheld under FOIA

exemptions 3 and 7(A). Response at 9-11. In particular, Highland avers that the IRS

has not properly claimed these exemptions because the IRS has “failed to identify the



                                        - 30 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 31 of 55 PageID 341


scope and nature of the Unidentified Report and Phase 1 Report. . . .” Id. at 9.

Moreover, Highland argues that the IRS’s stated rationale behind withholding the

reports under FOIA exemptions 3 and 7(A) is not only too vague, but that it makes

little sense considering “the IRS has produced to Highland other, more recent reports

– including a Phase II report – completed by The Brattle Group.” Id. at 10-11.

Accordingly, Highland contends that summary judgment as to the documents

withheld under FOIA exemptions 3 and 7(A) is improper.

      As noted earlier by the court, section 6103 of the Internal Revenue Code is a

qualifying statute under FOIA exemption 3, 5 U.S.C. § 552(b)(3). Section

6103(e)(7) of the Internal Revenue Code provides that “[r]eturn information with

respect to any taxpayer may be open to inspection by or disclosure to any person

authorized by this subsection to inspect any return of such taxpayer if the Secretary

determines that disclosure would not seriously impair Federal tax administration.”

See 26 U.S.C. § 6103(e)(7). Section 6103(e)(7) thus protects from disclosure return

information that the Secretary determines would seriously impair federal tax

administration. See Linsteadt v. Internal Revenue Service, 729 F.2d 998, 1000-01 (5th

Cir. 1984). “The [c]ourt’s review of the Secretary’s determination that a disclosure

would seriously impair Federal tax administration is de novo, and the IRS bears the

burden of proof to justify nondisclosure.” Sea Shepherd Conservation Society v. Internal

Revenue Service, 89 F. Supp. 3d 81, 100 (D.D.C. 2015) (internal quotations and



                                          - 31 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19        Page 32 of 55 PageID 342


citations omitted).

       Additionally, exemption 7(a) provides that “records or information compiled

for law enforcement purposes” may be withheld by an agency in response to a FOIA

request, “but only to the extent that the production of such law enforcement records

or information (A) could reasonably be expected to interfere with enforcement

proceedings.” 5 U.S.C. § 552(b)(7)(A). To satisfy its burden and withhold records

under exemption 7(a), the agency must establish “that (1) the documents were

investigatory records compiled for law enforcement purposes and (2) production of

the documents would interfere with pending enforcement proceedings.” Pruitt Electric

Co. v. United States Department of Labor, 587 F. Supp. 893, 895 (N.D. Tex. 1984)

(Fish, J.).

       Having reviewed the parties’ arguments and appendices, the court concludes

that the IRS’s motion for summary judgment should be denied with respect to all

documents withheld under FOIA exemption 3 in conjunction with 26 U.S.C.

§ 6103(e)(7). After reviewing the IRS’s appendices and its Vaughn index, the court is

unpersuaded that the IRS has properly claimed this exemption. Although the IRS

has stated in its appendices and Vaughn index the nature and types of documents

withheld under FOIA exemption 3 in conjunction with 26 U.S.C. § 6103(e)(7), see

Appendix in Support; Appendix to Reply, the IRS has done very little to explain to

the court just exactly how disclosing any of these documents would seriously impair



                                        - 32 -
    Case 3:18-cv-00181-G Document 40 Filed 09/30/19       Page 33 of 55 PageID 343


federal tax administration. Instead, in the IRS’s appendices and its Vaughn index, the

IRS simply repeats the conclusory assertions that disclosing these pages “would

reasonably be expected to interfere with IRS enforcement proceedings, thereby

seriously impairing the ability of the government to ensure the collection of the

proper tax and penalties from [the] plaintiff.” See Appendix to Reply at 17-24,

Appendix in Support 39-40. Such conclusory allegations are not enough to withhold

documents under FOIA, however. See Sea Shepherd Conservation Society, 89 F. Supp.

3d at 101.

        Despite this, however, the court concludes that summary judgment should be

granted in part with respect to the documents withheld under FOIA exemption 7(a).

First, the court concludes that the IRS has not met its summary judgment burden to

withhold in part pages 4, 407, 420, 446, 454-456, 458-459, 470-471, 474-475, 503,

506-507, 532, 535, 538, 547, 550, 567-568, 576, 580-581, 588, and 14841 under

FOIA 7(a). Though the IRS provided a Vaughn index, the descriptions of these pages

contained within said index do not show the court how the release of these records

would interfere with the IRS’s current enforcement proceedings.5 In addition, the

“basis for exemptions” section of the Vaughn index with respect to these pages

5
       The Vaughn index entries for these pages describe these documents as
containing “discussions” that either relate to the drafting of The Brattle Group’s
reports or The Brattle Group’s requests for information to be used in the reports. See
Appendix to Reply, Exhibit B at 17-20. Without more explanation, the court is
unable to determine how a “discussion” would interfere with the IRS’s examination
of Highland.

                                         - 33 -
    Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 34 of 55 PageID 344


contains nothing more than conclusory assertions. As other courts have noted, FOIA

requires more than conclusory assertions. See Sea Shepherd Conservation Society, 89 F.

Supp. at 101. Consequently, the court concludes that the IRS must submit to the

court for in camera review pages 4, 407, 420, 446, 454-456, 458-459, 470-471, 474-

475, 503, 506-507, 532, 535, 538, 547, 550, 567-568, 576, 580-581, 588, and

14841.6

        Nevertheless, the court concludes that the IRS has satisfied its summary

judgment burden to withhold in part pages 413-414, 545, 613-614, and 14752 under

FOIA exemption 7(a). In contrast to the pages discussed in the preceding paragraph,

the Vaughn index entries for pages 413-414, 545, 613-614, and 14752 are specific

and show to the court why disclosing these pages would compromise the IRS’s

enforcement proceedings against Highland. See Appendix to Reply at 17-20. More

specifically, the Vaughn index entries for pages 413-414, 545, 613-614, and 14752,

show the court that these pages contain the IRS’s analysis of certain facts to be used

in The Brattle Group’s report in conjunction with the IRS’s examination of Highland,

discussions of the IRS’s examination strategy, and discussions of facts to be used by

the IRS’s experts. Id. The court is thus satisfied that revealing the IRS’s analysis of

certain facts, as well as its examination strategy would clearly reveal the scope,

6
       Because the court has concluded that the IRS must submit page 576 for
in camera review, the same ruling applies to pages 15352, 15371, 15373, 15377 and
15381, as these pages are admitted to be duplicates of page 576. See Appendix to
Reply at 22.

                                          - 34 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 35 of 55 PageID 345


direction, and strategy of the IRS’s enforcement proceedings against Highland.

Accordingly, the court concludes that pages 413-414, 545, 613-614, and 14752 may

be withheld by the IRS under FOIA exemption 7(a).

      In addition, the court concludes that the IRS has met its summary judgment

burden to withhold pages 247-300 in full under FOIA exemption 7(a). As stated in

the IRS’s Vaughn index, pages 247-300 contain a “Revenue Agent’s copy of the Phase

III Report, ‘Evaluation of the Analysis and Opinions in the August 2, 2013 Culp

Presentation,’ which was provided to [the] IRS by [The] Brattle Group at completion

of third phase of work.” Appendix to Reply at 17. Moreover, these pages contain

“highlighted text indicating issues identified by [the] Revenue Agent for additional

scrutiny.” Id. Despite Highland’s arguments otherwise, the court agrees with the IRS

that disclosing these pages, as well as the issues highlighted by the IRS for extra

scrutiny in connection with Highland’s investigation, would reveal the scope,

direction, and strategy of the IRS’s investigation of Highland. Consequently, the IRS

may withhold pages 247-300 pursuant to FOIA exemption 7(a).

       With respect to pages 348 and 369, however, the court finds that the IRS has

not satisfied its summary judgment burden to withhold these pages under FOIA

exemption 7(a). First, although the Vaughn index entries for pages 348 and 369

adequately describe the nature of each document, the index fails to explain to the

court why their disclosure would either interfere with federal tax administration or



                                         - 35 -
    Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 36 of 55 PageID 346


compromise the IRS’s investigation of Highland. See Appendix to Reply at 17.

Moreover, the court is unable to find a sufficient explanation for these exemptions in

either the “basis for exemption” section of the IRS’s Vaughn index, see id., or the first

declaration of Melissa Avrutine. See Appendix in Support at 39-40. Without such an

explanation, the IRS’s statements that the disclosure of these pages would

“reasonably be expected to interfere with IRS enforcement proceedings, thereby

seriously impairing the ability of the government to ensure the collection of the

proper tax and penalties from [Highland]” are simply insufficient conclusory

assertions. See Appendix to Reply at 17. Accordingly, the court concludes that the

IRS must submit pages 348 and 369 to the court for an in camera review.

        The court also concludes that the IRS has satisfied its summary judgment

burden to withhold in full pages 15046-15151 and 15160-15349 under FOIA

exemption 7(a). Despite Highland’s arguments that the IRS has not satisfied its

summary judgment burden because its description of pages 15046-15151 and 15160-

15349 are “too vague” and conclusory, see Response at 9-11, the court is convinced

otherwise. The IRS’s Vaughn index, as well as the second declaration of Melissa

Avrutine, describe the nature and contents of these documents in sufficient detail to

show the court that disclosing these pages7 — which were compiled for use in the

7
       As stated in the IRS’s Vaughn index: (1) pages 15046-15077 consist of The
Brattle Group’s Phase I memorandum, which provides a “preliminary review and
evaluation of information provided by [the] IRS to The Brattle Group related to the
                                                                       (continued...)

                                          - 36 -
    Case 3:18-cv-00181-G Document 40 Filed 09/30/19       Page 37 of 55 PageID 347


IRS’s examination of Highland—would interfere with said examination by revealing

to Highland the nature and strategy of the IRS’s investigation, as well as key facts

relied upon by the IRS in its examination. In short, the IRS has convinced the court

that disclosing pages 15046-15151 and 15160-15349 would compromise its

investigation of Highland and consequently the court concludes that the IRS may

withhold pages 15046-15151 and 15160-15349 pursuant to FOIA exemption 7(a).

        Finally, the court concludes that the IRS has satisfied its summary judgment

burden under FOIA exemption 7(a) to withhold pages: (1) 15424 in part; (2) 15458-

7
 (...continued)
taxpayer’s examination, in order to assess the data and analytical options available; to
identify additional data that may be required; to access the likely cost of the various
possible analyses; and to identify the most important issues for the expert’s report[;]”
(2) pages 15078-15148 consist of preliminary draft copies of The Brattle Group’s
Phase II Report, entitled “Evaluation of the Economic Motivation for HCMLP’s
Purchase of the CDS Interests[;]” (3) pages 151149-15151 consist of a “Revenue
Agent’s preliminary notes from the [IRS’s] review of a draft of the Phase III report[;]
(4) pages 15160-15237 consist of a “Revenue Agent’s copy of the Phase III report,
entitled ‘Evaluation of the Economic Motivation for HCMLP’s Purchase of the CDS
Interests,” which was provided to the [IRS] by The Brattle Group[;]” (5) pages
15238-15291 consist of Revenue Agent’s copy of the Phase III Report, entitled
“Evaluation of the Analysis and Opinions in the August 2, 2013 Culp Presentation”
provided to the IRS by The Brattle Group, which “includes highlighted text
indicating issues identified . . . for additional scrutiny [;]” (6) pages 15292-15293
consist of a message pertaining to Highland, for use by The Brattle Group in drafting
reports; (7) pages 15294-15341 consist of a preliminary copy of the Phase III Report
which also includes highlighted text indicating issues for additional scrutiny; (8) page
15342 consists of a Revenue Agent’s preliminary notes discussing that agent’s review
of the Phase II Report; (9) page 15343 consists of an online news article that was
considered for inclusion in the IRS’s expert’s reports; and (10) pages 15344-15349
consist of “[r]esponses to requests for additional information pertaining to
[Highland] for use by The Brattle Group in drafting reports.” Appendix to Reply at
21-22.

                                         - 37 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 38 of 55 PageID 348


15505 in full; (3) 15507-15560 in full; (4) 15617-15621, 15623-15624, 15626-

15627, 15662-15665, 15667-15669, and 15844-15845 in part; (5) pages 15629-

15660 in full; (6) and pages 15671-15680, 15682-15691, 15693-15701, 15703-

15713, 15715-15725, 15727-15737, and 15739-15747 in full. The Vaughn index

provided by the IRS and the declaration of Roy Metcalf describe these documents in

sufficient detail to show the court that their disclosure would interfere with the IRS’s

investigation of Highland. See Appendix to Reply at 23-24, 31-34. As noted in both

the Vaughn index and Metcalf’s declaration, these pages contain discussions of the

analysis used in The Brattle Group’s reports, copies of said reports, and memoranda

that specifically mention information needed from Highland for the completion of

the reports. Appendix to Reply at 23-24, 31-34. The court agrees with the IRS that

if this information, including the specific factual analyses contained within these

reports and requests for additional information about Highland, were disclosed to

Highland, the nature, scope, and strategy of the IRS’s investigation into Highland

would be revealed, thereby interfering with the IRS’s examination. Accordingly, the

court concludes that the IRS has satisfied its summary judgment burden under FOIA

exemption 7(a) to withhold these pages.

      To summarize, based on the descriptions and information contained within

the IRS’s Vaughn index and its various appendices, the court concludes that the IRS

has not satisfied its summary judgment burden for any document withheld pursuant



                                          - 38 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 39 of 55 PageID 349


to FOIA exemption 3 in conjunction with 26 U.S.C. § 6103(e)(7). Nevertheless, the

court concludes that the IRS satisfied its summary judgment burden to withhold all

of the documents it claimed under FOIA exemption 7(a), except for pages 4, 348,

369, 407, 420, 446, 454-456, 458-459, 470-471, 474-475, 503, 506-507, 532, 535,

538, 547, 550, 567-568, 576, 580-581, 588, 14841, 15352, 15371, 15373, 15377

and 15381. Accordingly, the IRS shall therefore file under seal, for an in camera

inspection by the court, pages 4, 348, 369, 407, 420, 446, 454-456, 458-459, 470-

471, 474-475, 503, 506-507, 532, 535, 538, 547, 550, 567-568, 576, 580-581, 588,

14841, 15352, 15371, 15373, 15377 and 15381.

           4. Records Withheld Under Exemption 5 for Attorney-Client Privilege

      The IRS also seeks to withhold records in part under FOIA exemption five, 5

U.S.C. § 552(b)(5), because the IRS contends these records are protected by the

attorney-client privilege. Memorandum in Support at 30-31; Appendix in Support,

Exhibit 2 at 9-10. In particular, the IRS contends that it is withholding pages 369

and 545 in part because they “are email messages between Ms. Wang and Ms.

Richards discussing legal advice.” Appendix in Support, Exhibit 2 at 10. Highland

does not address this particular exemption or the withheld information it purports to

cover in its response or surreply. See generally Response; Surreply.

      The fifth FOIA exemption protects from disclosure “inter-agency or intra-

agency memorandums or letters that would not be available by law to a party other



                                         - 39 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19            Page 40 of 55 PageID 350


than an agency in litigation with the agency.” 5 U.S.C. § 552(b)(5). “To qualify, a

document must thus satisfy two conditions: its source must be a [g]overnment

agency, and it must fall within the ambit of a privilege against discovery under

judicial standards that would govern litigation against the agency that holds it.”

Department of the Interior v. Klamath Water Users Protective Association, 532 U.S. 1, 8

(2001). “The Fifth Circuit has interpreted exemption five to encompass the attorney-

client privilege, the attorney work product privilege, and the deliberative process

privilege.” Gahagan v. United States Citizenship and Immigration Services, 147 F. Supp.

3d 613, 629 (E.D. La. 2015) (citing Shermco Industries, Inc. v. Secretary of the Air Force,

613 F.2d 1314, 1318 (5th Cir. 1980)).

       “In the context of a FOIA request, ‘the agency is the ‘client’ and the agency’s

lawyers are the ‘attorneys’ for purposes of attorney-client privilege.’” Id. (quoting

Judicial Watch, Inc. v. United States Department of Treasury, 796 F. Supp. 2d 13, 33

(D.D.C. 2011)). “To invoke the privilege, the agency must show that the withheld

document (1) involves confidential communications between an attorney and the

agency and (2) relates to a legal matter for which the agency has sought professional

advice.” Id. (internal brackets and citations omitted).

       The court concludes that the IRS has failed to satisfy its burden on summary

judgment for the pages withheld in full and in part under the fifth FOIA exemption

for attorney-client privilege. This is because it is clear to the court that the



                                           - 40 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19           Page 41 of 55 PageID 351


declarations offered by the IRS are similar to, and therefore share the same

deficiencies as, the declarations at issue in Gahagan.

      Here, the IRS relies on Valvardi’s declaration to satisfy its summary judgment

burden. Memorandum in Support at 30-31. Valvardi’s first declaration contends

that the IRS should withhold pages 369 and 545 in part because they “contain facts

or analysis relating to a legal matter for which the Service has sought professional

advice from Chief Counsel. . . . The exempt records or portions of records include

communications among Chief Counsel attorneys relating to legal advice requested by

Chief Counsel on behalf of the Service.” Appendix in Support, Exhibit 2 ¶ 30.

      In Gahagan, the district court denied the United States Citizenship and

Immigration Service’s motion for summary judgment because the agency’s

declaration did “not contain enough information to permit the [c]ourt to determine

whether [the] privilege applies.” Gahagan, 147 F. Supp. 3d at 629. The declaration

provided by the agency explained the assertion of attorney-client privilege by stating

“[t]his email provides internal discussion between USCIS counsel to USCIS

personnel on litigation against the agency.” Id. Here, the Valvardi declaration

similarly explains the agency’s assertion of attorney-client privilege by stating that the

withheld documents are “intra-agency communications between [the] Service and

Chief Counsel employees” containing “facts or analysis relating to a legal matter for

which the Service has sought professional advice from Chief Counsel.” Appendix in



                                          - 41 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 42 of 55 PageID 352


Support, Exhibit 2 ¶ 30. Put simply, both the declaration at issue in Gahagan and the

declaration at issue here fail to support summary judgment because they are too

vague to allow a court to determine if the attorney-client privilege applies.

      Valvardi’s second declaration includes a Vaughn index which does specify the

source and the recipient of both records withheld by the IRS. Appendix to Reply in

Support, Exhibit B at 1, 3. The Vaughn index, however, still fails to provide the court

with a description of the matters discussed in the withheld documents. The

description offered of page 369 simply reads: “Request for IRS Chief Counsel

attorney’s advice regarding the preparation of a report by The Brattle Group.” Id. at

1. Page 545’s description is equally vague, stating that the document is a

“[d]iscussion of examination strategy, including a request by a Revenue Agent for

legal advice from Counsel, and advice provided by Counsel in response, with regard

to Brattle Group requests for information to be used in drafting reports.” Id. at 3.

While giving the names of sources and recipients is unnecessary, without a more

detailed description of the matters discussed, it is impossible for the court to properly

determine if the attorney-client privilege applies. See Gahagan v. United States

Citizenship and Immigration Services, No. 15-2540, 2017 WL 3393993 at *2 (E.D. La.

Aug. 8, 2017) (concluding that the agency had finally satisfied summary judgment

burden of establishing that certain emails were properly withheld under the fifth

FOIA exemption for attorney client privilege only after the agency had submitted a



                                         - 42 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 43 of 55 PageID 353


supplemental Vaughn index that provided the specific source and recipient of the

records in question, as well as a detailed description of the matters discussed).

      Accordingly, the court denies summary judgment in favor of the IRS as to the

partial withholding of pages 369 and 545 under FOIA exemption five for attorney-

client privilege. Nevertheless, because the court has already determined that the IRS

may withhold page 545 pursuant to FOIA exemption 7(a), the court only requires

that the IRS file page 369 under seal for in camera inspection.

                            5. Records Withheld Under Exemption 5
                                for Deliberative Process Privilege

      In addition to withholding records under FOIA exemption 5 for attorney-client

privilege, the IRS also claims that it may withhold a number of records under FOIA

exemption 5 for the deliberative process privilege. See Memorandum in Support at

28-30; Reply at 10-12. In particular, the IRS seeks to withhold: (1) pages 247-300,

348, 15046-15077, 15078-15148, 15149-15151, 15160-15237, 15238-15291,

15292-15293, 15294-15341, 15342, 15343, 15344-15349, 15458-15505, 15507-

15560, 15629-15660, 15671-15680, 15682-15691, 15693-15701, 15703-15713,

15715-15725, 15727-15737, 15739-15747 in full; and (2) pages 4, 25, 28, 37, 47,

49, 55, 79, 369, 407, 413, 414, 420, 446, 454, 455, 456, 458-459, 470-471, 474-

475, 503, 506-507, 532, 535, 538, 545, 547, 550, 567-568, 576, 580-581, 588, 613-

614, 14752, 14841, 15352, 15371, 15373, 15377, 15381, 15424, 15617-15621,

15623-15624, 15626-15627, 15662-15665, 15667-15669, and 15844-15845 in

                                         - 43 -
    Case 3:18-cv-00181-G Document 40 Filed 09/30/19      Page 44 of 55 PageID 354


part.8 The IRS argues that these pages may be withheld under the deliberative

process privilege since they include communications between IRS employees and

contractors for The Brattle Group that contain pre-decisional thoughts and

deliberations about The Brattle Group’s reports. See Memorandum in Support at 29-

30; Reply at 11.

        In response, Highland contends that the IRS has not satisfied its summary

judgment burden with respect to the documents withheld under FOIA exemption 5

for the deliberative process privilege. Response at 13-14. More specifically, Highland

contends that the IRS’s descriptions of the documents withheld under the

deliberative process privilege do not “afford the [c]ourt with enough information to

verify the accuracy of the redactions” and that “neither Highland nor the [c]ourt can

determine whether certain redactions relate to facts (which are not exempt) as

opposed to analysis of the IRS or The Brattle Group.” Id. Consequently, Highland

asks that this court conduct an in camera review of the pages withheld under the

deliberative process privilege pursuant to FOIA exemption 5. Id. at 14.

        Exemption 5 allows an agency to withhold “inter-agency or intra-agency


8
      Since the court has previously determined that the IRS may withhold: (1)
pages 413-414, 545, 613-614, 14752, 15424, 15617-15621, 15623-15624, 15626-
15627, 15662-15665, 15667-15669, and 15844-15845 in part; and (2) pages 247-
300, 15046-15151, 15160-15349, 15458-15505, 15507-15560, 15629-15660,
15671-15680, 15682-15691, 15693-15701, 15703-15713, 15715-15725, 15727-
15737, and 15739-15747 in full, the court will not analyze whether the deliberative
process privilege applies to these pages.

                                         - 44 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19            Page 45 of 55 PageID 355


memorandums or letters that would not be available by law.” 5 U.S.C. § 552(b)(5).

“The purpose of the deliberative process privilege is to enhance the quality of agency

decisions by assuring individuals ‘who offer information and opinions to the

[g]overnment that their communications will be kept in confidence.’” Gahagan v.

United States Citizenship and Immigration Services, No. 15-2540, 2017 WL 3393993 at

*3 (E.D. La. Aug. 8, 2017) (quoting Shermco Industries, Inc., 613 F.2d at 1318). For

the deliberative process privilege to apply, “a document must be both ‘predecisional’

and ‘deliberative.’” Id. (citing Vaughn v. Rosen, 523 F.2d 1136, 1144 (D.C. Cir.

1975)). A document is predecisional if it was generated before the adoption of an

agency policy. Id. (citing Coastal States Gas Corp. v. Department of Energy, 617 F.2d

854, 866 (D.C. Cir. 1980)). A document is deliberative if “it reflects the give-and-

take of the consultative process.” Id. (citing Judicial Watch, Inc. v. Food and Drug

Administration, 449 F.3d 141, 151 (D.C. Cir. 2006)). “In other words, the document

must be such that public disclosure ‘would expose an agency’s decisionmaking

process in such a way as to discourage candid discussion within the agency and

thereby undermine the agency’s ability to perform its functions.’” Id. (quoting

Dudman Communications Corp. v. Department of the Air Force, 815 F.2d 1565, 1568

(D.C. Cir. 1987)). The agency bears the burden of establishing the deliberative

process involved and the role played by the documents at issue in the course of that

process. Id. “Conclusory allegations that merely parrot the legal test do not suffice.”



                                          - 45 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19             Page 46 of 55 PageID 356


Id. (citing Senate of the Commonwealth of Puerto Rico on behalf of the Judiciary Committee v.

United States Department of Justice, 823 F.2d 574, 585 (D.C. Cir. 1987)).

       Here, the court concludes that summary judgment should only be partially

granted in favor of the IRS with respect to the records it withholds under the

deliberative process privilege as codified in the fifth FOIA exemption. In particular,

the court concludes that the IRS has, in fact, satisfied its summary judgment burden

under FOIA exemption five to withhold page 348 in full and pages 446, 503, 506-

507, 547, 550, and 14841 in part. As noted in the IRS’s Vaughn index, these pages

are intra-agency communications that qualify for withholding under the deliberative

process privilege, since they consist of communications between IRS employees or

communications between IRS employees and contractors employed by The Brattle

Group. Appendix to Reply at 17-20; see also Department of the Interior v. Klamath

Water Users Protective Association, 532 U.S. 1, 10-11 (2001) (holding that

communications between agencies and non-government contractors may be afforded

protection under the deliberative process privilege); Hoover v. United States Department

of the Interior, 611 F.2d 1132, 1138 (5th Cir. 1980) (granting protection under the

deliberative process privilege to an appraisal report that was prepared by a non-

government contractor because the appraisal “plays an integral function in the

government’s decision whether to seek purchase or condemnation of the land.”). In

addition, it is clear to the court that these pages are all pre-decisional, since they were



                                            - 46 -
    Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 47 of 55 PageID 357


generated prior to the IRS’s final decision to adjust Highland’s tax liability. See

Memorandum in Support at 16; Appendix in Support ¶ 45; see also Gahagan, 2017

WL 3393993 at *3. Moreover, the court is satisfied that these documents are

deliberative because the IRS’s Vaughn index sufficiently describes the function and

significance of the role these documents plays in the “give-and-take of the

consultative process.”9 Gahagan, 147 F.Supp. 3d at 629. In fact, the descriptions of

these documents, both in the IRS’s Vaughn index and its appendices, are like those at

issue in Competitive Enterprise Institute, where the court held that the description

“discussion among multiple staff . . . concerning a request from [another agency]” was

a sufficient description to establish that the deliberative process privilege applied.

Competitive Enterprise Institute v. Environmental Protection Agency, 232 F. Supp.3d 172,

186 (D.D.C. 2017).


9
        For example, consider the Vaughn index entry for page 446. See Appendix to
Reply at 18. The description of this document shows that it consists of “[r]esponses
to requests for additional information pertaining to [Highland], for use by The
Brattle Group in drafting reports.” Id. This description reveals that page 446, if
disclosed, would not only reveal the author’s opinion on the type of information that
would be material to the IRS’s examination and final adjustment of Highland’s tax
liability, but it would also demonstrate the opinions of the employees and contractors
because the document “reflect[s] the personal opinions of the writer rather than the
policy of the agency.” See Batton, 598 F.3d at 183. Another example is the Vaughn
index entry for page 14841. See Appendix to Reply at 20. The description of the
document shows that it contains a “[d]iscussion of language to be used in draft
report,” which indicates the document functions as part of the editing process of the
report, which itself contributes to the IRS’s final decision in its examination of
Highland. Id.


                                          - 47 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19         Page 48 of 55 PageID 358


       Accordingly, the court concludes that the IRS may withhold page 348 in full

and pages 446, 503, 506-507, 547, 550, and 14841 in part under the deliberative

process privilege. At the same time, however, the court concludes that the IRS has

not satisfied its summary judgment burden to withhold in part pages 4, 25, 28, 37,

47, 49, 55, 79, 369, 407, 413, 414, 420, 454, 455, 456, 458-459, 470-471, 474-475,

532, 535, 538, 567-568, 576, 580-581, 588, 15352, 15321, 15373, 15377, and

15381 under the deliberative process privilege. In short, the court finds that the

IRS’s descriptions of these pages, both in its Vaughn index and in its appendices, are

far too vague to show that these documents reflect the give-and-take of the

consultative process. While it is true that the IRS may take a categorical approach in

its Vaughn index, the IRS must still “identify the particular type of document being

withheld.” Batton, 598 F.3d at 177. Without more, the IRS’s description of these

documents does not inform the court of the type of information withheld or how

such information contributes to the IRS’s examination of Highland or the adjustment

of Highland’s tax liability. Accordingly, the court concludes that the IRS has not

satisfied its summary judgment burden with respect to these pages and thus the IRS

must submit to the court for in camera review pages 4, 25, 28, 37, 47, 49, 55, 79,

369, 407, 413, 414, 420, 454, 455, 456, 458-459, 470-471, 474-475, 532, 535, 538,

567-568, 576, 580-581, 588, 15352, 15321, 15373, 15377, and 15381.




                                         - 48 -
     Case 3:18-cv-00181-G Document 40 Filed 09/30/19       Page 49 of 55 PageID 359


                 6. Records Withheld Under Exemption 6 and Exemption 7(c)

         The IRS also argues that it may withhold pages 14931, 14943, and 15043 in

part pursuant to FOIA exemptions 6 and 7(c).10 More specifically, the IRS contends

that it may withhold these pages under FOIA exemptions 6 and 7(c) to protect the

privacy interests of contractors employed by The Brattle Group, as these pages

“contain information about private individuals, including partial Social Security

Numbers and signatures, the disclosure of which would constitute a clearly

unwarranted invasion of personal privacy.” Memorandum in Support at 17. In both

its response and surreply, however, Highland made no mention of the documents the

IRS seeks to withhold under FOIA exemptions 6 and 7(c). Nevertheless, the IRS still

bears the burden with respect to FOIA exemptions 6 and 7(c).

         Furthermore, with respect to FOIA exemption 6, the court concludes that the

IRS has satisfied its summary judgment burden to withhold pages 14941 and 15043

in part. The sixth FOIA exemption protects “personnel and medical files and similar

files the disclosure of which would constitute a clearly unwarranted invasion of

personal privacy.” 5 U.S.C. § 552(b)(6). To determine whether a document may be

withheld under the sixth FOIA exemption, the court must determine whether the

records at issue constitute “files” within the meaning of 5 U.S.C. § 552(b)(6). United

10
       Since the court has already concluded that the IRS may withhold in part page
14943 under the third FOIA exemption in conjunction with 26 U.S.C.
§ 6103(a), the court will not discuss the applicability of FOIA exemptions 6 or 7(c)
to this page.

                                          - 49 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 50 of 55 PageID 360


States Department of State v. Washington Post Company, 456 U.S. 595, 602 (1982).

Following this, the “court must balance the public interest in disclosure against the

interest Congress intended the [e]xemption to protect.” Batton, 598 F.3d at 180

(citing Avondale Industries, Inc. v. NLRB, 90 F.3d 955, 960 (5th Cir. 1996)). Where

there is no countervailing public interest, however, courts regularly allow the

identifying information of individuals to be withheld under FOIA exemption six. See

e.g., United States Department of State v. Ray, 502 U.S. 164, 179 (1991) (disclosing the

names of immigrants who returned to their home country would be a clearly

unwarranted invasion of privacy because the proposed public benefit was

hypothetical).

      Here, it is clear that the records the IRS seeks to withhold under FOIA

exemption 6 constitute files within the meaning 5 U.S.C. § 552(b)(6) and that the

public interest in disclosure is heavily outweighed by the privacy interest protected by

the sixth FOIA exemption. The court is persuaded that the information contained

within the pages withheld under exemption 6 constitutes a “similar file” within the

meaning of 5 U.S.C. § 552(b)(6). The Supreme Court has broadly interpreted

“similar files” to include any “information which applies to a particular individual.”

United States Department of State v. Washington Post Co., 456 U.S. 595, 602 (1982).

The information contained within the pages withheld under the sixth FOIA

exemption include the social security numbers of contractors employed by The



                                         - 50 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 51 of 55 PageID 361


Brattle Group, their signatures, and the personal telephone number of one of the

contractor’s supervisors. Appendix to Reply at 20. Accordingly, there is no question

that this information “applies to a particular individual” and would thus constitute a

similar file under 5 U.S.C. § 552(b)(6).

      Furthermore, it is clear to the court that the privacy interests in keeping this

information from being disclosed are more substantive than, and readily outweigh,

the public interest in releasing this information. The Fifth Circuit has previously

recognized that an individual’s informational privacy interest in his or her social

security number is substantial, as “simultaneous disclosure of an individual’s name

and confidential [social security number] exposes that individual to a heightened risk

of identity theft and other forms of fraud.” Sherman v. United States Department of

Army, 244 F.3d 357, 365-66 (5th Cir. 2001). Furthermore, other courts have found

that individuals have substantial privacy interests in their personal information, such

as their names and telephone numbers. See, e.g., Roseberry-Andrews v. Department of

Homeland Security, 299 F. Supp. 3d 9, 30 (D.D.C. 2018). Based on the substantial

weight of the privacy interest individuals have in their personal information, and

because Highland has failed to clearly articulate a compelling public interest that

warrants disclosure of said information, see generally Response; Surreply, the court

concludes that the IRS’s withholdings under FOIA exemption 6 are proper. The IRS

has satisfied its summary judgment burden with respect to the pages withheld under



                                           - 51 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 52 of 55 PageID 362


FOIA exemption 6 and the court thus need not address whether FOIA exemption

7(c) applies to these pages.

                     7. Records Withheld Pursuant to Exemption 7(e)

      The final exemption claimed by the IRS to withhold certain records is FOIA

exemption 7(e). Although not mentioned in the IRS’s memorandum in support or its

reply, in its Vaughn index, the IRS claims that pages 15358, 15393, 15400, 15406,

15407, and 15423 should be withheld in part under FOIA exemption 7(e) because

these pages contain an “[i]nvitation to participate in a conference call, containing

[the] conference line access number.” Appendix to Reply at 22. More specifically,

the IRS contends that conference line access number may be properly withheld

because the “[c]onference line access number is a component of a communication

technique used by the [IRS] to confidentially discuss law enforcement matters [and]

[d]isclosure would allow taxpayers to eavesdrop on confidential law enforcement

discussions.” Id. Highland has made no arguments in response to the IRS as to the

documents withheld in part under FOIA exemption 7(e). See generally Response;

Surreply.

      FOIA exemption 7(e) exempts from disclosure “records or information

compiled for law enforcement purposes, but only to the extent that the production of

such law enforcement records or information . . . would disclose techniques and

procedures for law enforcement investigations or prosecutions, or would disclose



                                         - 52 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19          Page 53 of 55 PageID 363


guidelines for law enforcement investigations or prosecutions if such disclosure could

reasonably be expected to risk circumvention of the law.” 5 U.S.C. § 552(b)(7)(e).

Because the text of FOIA exemption 7(e) exempts from disclosure records that “could

reasonably be expected to risk circumvention of the law,” the IRS “does not have to

prove that circumvention is a necessary result.” Mayer Brown Limited Liability

Partnership v. Internal Revenue Service, 562 F.3d 1190, 1193 (D.C. Cir. 2009). Instead,

the IRS need only show that there is a chance of a reasonably expected risk that the

law would be circumvented if the information withheld is disclosed. Id. Here, the

IRS has shown that to the court, as there is a chance of a reasonably expected risk

that taxpayers would eavesdrop on law enforcement discussions, and use what is

learned to circumvent the law, if the confidential conference line access number is

disclosed. See Appendix to Reply at 22. The court thus concludes that the IRS may

withhold in part pages 15358, 15393, 15400, 15406, 15407, and 15423.

                                    8. Segregability

      Finally, although only briefly addressed in the IRS’s memorandum in support,

the court agrees with the IRS as to the segregability of the records the IRS is properly

withholding pursuant to 5 U.S.C. § 552(b). “Section 522(b) of the FOIA states that

‘[a]ny reasonably segregable portion of a record shall be provided to any person

requesting such record after deletion of the portions which are exempt under this

subsection.’” Batton, 598 F.3d at 178 (quoting 5 U.S.C. § 552(b)). Furthermore, the



                                         - 53 -
  Case 3:18-cv-00181-G Document 40 Filed 09/30/19            Page 54 of 55 PageID 364


court recognizes that “[i]t is error for a district court to simply approve the

withholding of an entire document without entering a finding on segregability, or the

lack thereof.” Schiller v. National Labor Relations Board, 964 F.2d 1205, 1210 (D.C.

Cir. 1992). Based on the detailed descriptions contained within the IRS’s Vaughn

index, the court concludes that the records the IRS withholds in full under FOIA

exemption 5 for deliberative process and exemption 7(a) are not segregable, as the

pages in question either fully fall within exemptions 5 or 7(a), or they contain

nonexempt portions that are so intertwined with exempt material as to be

nonsegregable. See Appendix to Reply at 17-24.

                                  III. CONCLUSION

       For the reasons stated above, the court GRANTS IN PART and DENIES IN

PART the IRS’s motion for summary judgment. For the records on which summary

judgment is denied (i.e., pages 4, 25, 28, 37, 47, 49, 55, 79, 348, 369, 407, 413-414,

420, 446, 454-456, 458-459, 470-471, 474-475, 503, 506-507, 532, 535, 538, 547,

550, 567-568, 576, 580-581, 588, 14841, 15352, 15371, 15373, 15377, and 15381)

the IRS shall, within fifteen days of this date, file those records under seal for in

camera inspection by the court.




                                          - 54 -
 Case 3:18-cv-00181-G Document 40 Filed 09/30/19   Page 55 of 55 PageID 365


     SO ORDERED.

September 30, 2019.




                                  ___________________________________
                                  A. JOE FISH
                                  Senior United States District Judge




                                  - 55 -
